 Case 23-10671          Doc 34      Filed 11/17/23 Entered 11/17/23 14:46:35                      Desc Main
                                      Document Page 1 of 2



                          UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

RE: ANDROMEDA T PEARSON                                )           Case No. 23 B 10671
                                                       )
                                                       )           Chapter 13
     Debtor(s)                                         )
                                                       )           Judge: DONALD R CASSLING

                     TRUSTEE’S OBJECTION TO CONFIRMATION OF PLAN

     COMES NOW Thomas H. Hooper, Chapter 13 Trustee duly appointed to administer the
instant case ("Trustee"), and hereby OBJECTS to confirmation of the Chapter 13 plan filed by
Debtor(s), in advance of the confirmation hearing set for November 30, 2023 10:00 am, for the
following:

     Debtor has failed to provide copies to the Trustee of the most recently filed tax returns in
     accordance with 11 U.S.C. §§ 521(e)(2)(A)(i), and 1325(a)(1). Missing 2019 and 2022 tax
     returns.

     Debtor has failed to properly fill out schedules in accordance with 11 U.S.C. Sections
     521(a)(1)(B)(i). Debtor to amend schedule I to list business address; provide proof of
     income and amend statement of financial affairs complete part 1.

     Debtor has failed to file a proper plan as required by Section 1325(a)(1) by failing to
     properly fill out: Part #2.3 uncheck 1st box and check 3rd box for trustee preferred tax
     language and Part #5.1 also check 3rd box.

     The plan fails to satisfy the liquidation analysis of 1325(a)(4) and the disposable income
     requirement of 1325(b), both of which require 100% repayment to general unsecured
     creditors.

     The plan is not sufficiently funded to pay all claims for which it provides as well as any
     required distribution to allowed general unsecured claims as required by 11 U.S.C. §
     1325(a)(1). While the plan is proposed at 60 months, the Trustee estimates that, at the
     current proposed monthly payment, the plan would take 70 months to complete; doesn't
     provide for treatment of student loan.


    WHEREFORE, the Trustee prays the Court to enter an Order denying confirmation of the
proposed Chapter 13 plan, and for such other and further relief as the Court may deem just and
proper. In the alternative, the Trustee requests a hearing on the matter.

Dated: November 17, 2023                                                     /s/ Thomas H. Hooper

                                                                             Thomas H. Hooper
                                                                             Chapter 13 Trustee
                                                                             55 E. Monroe St., Suite 3850
                                                                             Chicago, IL 60603
                                                                             (312) 294-5900
  Case 23-10671         Doc 34      Filed 11/17/23 Entered 11/17/23 14:46:35                     Desc Main
                                      Document Page 2 of 2



                           UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

RE: ANDROMEDA T PEARSON                               )           Case No. 23 B 10671
                                                      )
                                                      )           Chapter 13
     Debtor(s)                                        )
                                                      )           Judge: DONALD R CASSLING

                                      CERTIFICATE OF SERVICE

I, Emily Baez, do hereby certify that I am, and at all times hereinafter mentioned was, more than
eighteen (18) years of age; and that on the date indicated herein below, I served copies of the
foregoing TRUSTEE'S OBJECTION TO CONFIRMATION OF PLAN by depositing a copy of
the same in a postage-paid envelope with the United States Postal Service or by electronic
means, as indicated.

     SCHNEIDER & STONE                                               (via CM/ECF)
     Attorney for Debtor

     Patrick Layng                                                   (via CM/ECF)
     United States Trustee

     ANDROMEDA T PEARSON                                             (via U.S. Postal Service)
     1569 HARDING RD
     NORTHFIELD, IL 60093
     Debtor




Dated: November 17, 2023                                              /s/ Emily Baez

                                                                      Emily Baez
                                                                      Office of the Chapter 13 Trustee
                                                                      55 E. Monroe St., Suite 3850
                                                                      Chicago, IL 60603
                                                                      (312) 294-5900
